   Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.17 Filed 11/05/24 Page 1 of 15




                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION

   The American Civil Liberties Union of               )
   Michigan, on behalf of themselves and all           )
   others similarly situated,                          )   Civ. No. ___________
                                                       )
                  Plaintiff,                           )
   vs.                                                 )     MOTION FOR TEMPORARY
                                                       )     RESTRAINING ORDER AND
   John Does 1-6,                                      )   EMERGENCY DECLARATORY AND
                                                       )        INJUNCTIVE RELIEF
                  Defendants.                          )
                                                       )
                                                       )
                                                       )
                                                       )

         Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiff hereby moves this Court to

enter an emergency Temporary Restraining Order granting the temporary relief sought in Plaintiffs’

Complaint filed in this action on November 5th, 2024. In particular, Plaintiffs respectfully seeks a

Temporary Restraining Order restraining and enjoining Defendants—as well as their agents, employees,

successors, and attorneys, and all persons in active concert and participation with them—from

advancing their conspiracy to intimidate, threaten, harass, or coerce voters, and interfere with their

fundamental right to vote, in violation of Section 11(b) of the Voting Rights Act, 52 U.S.C. § 10307(b);

the Ku Klux Klan Act of 1871, 42 U.S.C. § 1985(3); and Article II, § 4 of the Michigan Constitution.

         Plaintiff is unable to give notice as it is unsure the identities of the John Doe Defendants.

         This motion is submitted concurrently with a Complaint for Temporary Restraining Order and

Emergency Declaratory and Injunctive Relief and a Memorandum in Support of Motion for Temporary

Restraining Order and Emergency Declaratory and Injunctive Relief, which are hereby incorporated

into this motion by reference.
  Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.18 Filed 11/05/24 Page 2 of 15




DATED THIS 5th day of November, 2024.




                                            /s/Philip Mayor_____________________

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    Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.19 Filed 11/05/24 Page 3 of 15




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

      The American Civil Liberties Union of                    )
      Michigan, on behalf of themselves and all                )
      others similarly situated and American Civil             )   Civ. No. ___________
      Liberties Union Foundation,                              )
                                                               )
                     Plaintiffs,                               )    BRIEF IN SUPPORT OF MOTION
      vs.                                                      )     FOR EX PARTE TEMPORARY
                                                               )      RESTRAINING ORDER AND
      John Does 1-6,                                           )   EMERGENCY DECLARATORY AND
                                                               )        INJUNCTIVE RELIEF
                     Defendants.                               )
                                                               )
                                                               )
                                                               )


                                               INTRODUCTION

            The need to maintain safety and security during the present election is acute. Numerous

statements have circulated in recent days, threating disruption of the voting process, sometimes

in violent tones. Indeed, in a virtual meeting for prospective poll workers on September 10th,

the RNC’s director of election integrity for Michigan proclaimed that she so distrusted the

Detroit election infrastructure that “if I could get away with … burning [Detroit] to the ground, I

would try.” 1 The conduct at issue in this emergency application has unfolded amidst this

disturbing context.

            Plaintiff seeks emergency relief from this Court to remedy a serious, and otherwise

irreparable, injury: the loss of its members’ right to vote freely for the candidates of their choice.




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    Nathan Layne, Joseph Tanfani & Ned Parker, In US swing states, officials brace for conspiracy theories and
      violence, REUTERS (Oct. 30, 2024), https://www.reuters.com/world/us/us-swing-states-officials-brace-
      conspiracy-theories-violence-2024-10-30/.



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 Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.20 Filed 11/05/24 Page 4 of 15




        Defendants followed and filmed voters, including inside the polling building, and

threatened violence against a voter’s family members, intimidating voters and unduly burdening

their constitutional right to vote.

        This behavior, if permitted to continue, this could intimidate voters and unduly burden

their constitutional right to vote and without relief, potentially depriving them of their right to

vote.

        The ACLU of Michigan is a member-based organization with approximately 31,504

members in Michigan, 7,263 in Oakland County, 262 in Birmingham, and 914 in Royal Oak,

most or all of whom are registered voters who are politically engaged and particularly high-

propensity voters. As a result of Defendants’ actions, members of the ACLU of Michigan are

likely to be intimidated or burdened when voting and, as a result, may not vote or have their vote

counted.

        As a result of Defendants’ actions, Plaintiff organizations have diverted time, energy, and

resources from its mission-focused work to remedy the violations of the rights of their members.

        In the absence of a Temporary Restraining Order halting this intimidation, members of

the ACLU of Michigan, and many other voters will be disenfranchised or will have their

fundamental rights unduly burdened today and Plaintiff the ACLU of Michigan will be

prevented from carrying out its core mission of defending individuals’ right to the elective

franchise. Plaintiffs therefore respectfully request that this Court order Defendants John Does 1-

6 to cease the harassment or intimidation of voters at or outside of the polls during the November

2024 Election—including filming voters coming and going from the polls, coming within 100

feet of the entrance to any polling station or necessary points of ingress or egress from a polling




                                                  2
 Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.21 Filed 11/05/24 Page 5 of 15




station, following individuals to or from their cars to the polls, or any other form of menacing or

intimation of violence while wearing a mask or otherwise immediately.

                                    STATEMENT OF FACTS

         Defendants, engaged in intimidating behavior including travelling to multiple polling

locations and illegally recording voters inside polling locations, following a voter to her car as

she exited a polling place, and threatening that violence may befall the child of a different voter

should Kamala Harris win the election.


                                            ARGUMENT

    I.        A Temporary Restraining Order Should Issue Ordering Defendants to Cease the
              Harassment or Intimidation of Voters at or Outside of the Polls During the
              November 2024 Election.

         Emergency injunctive relief is warranted when a plaintiff demonstrates: (1) a likelihood

of success on the merits; (2) a likelihood of irreparable harm in the absence of preliminary relief;

(3) that the equities balance in the plaintiff’s favor; and (4) that preliminary relief would serve

the public interest. See Winter v. NRDC, 555 U.S. 7, 20 (2008); Obama for Am. v. Husted, 697

F.3d 423, 428 (6th Cir. 2012); Fed. R. Civ. P. 65(b).

         To obtain preliminary injunctive relief, a complainant need show only a likelihood of

success on the merits; she need not demonstrate actual success. See Winter, 555 U.S. at 32. As

explained below, Plaintiffs are likely to succeed on the merits of all their claims.

         A.      Plaintiffs Are Likely to Prevail on the Merits of their Arguments that Defendants’
                 Actions Violate Voters’ Statutory and Constitutional Rights.

         Voting is a fundamental right. “There is no right more basic in our democracy than the

right to participate in electing our political leaders.” McCutcheon v. FEC, 572 U.S. 185, 191

(2014); see also Reynolds v. Sims, 377 U.S. 533, 562 (1964) (recognizing voting as a

“fundamental political right . . . preservative of all rights”). Not only is the right to vote


                                                   3
 Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.22 Filed 11/05/24 Page 6 of 15




fundamental, but the “right to vote freely for the candidate of one’s choice is of the essence of a

democratic society.” Reynolds, 377 U.S. at 555.

       This fundamental right is explicitly enshrined in the Michigan Constitution, which

declares that “[e]very citizen of the United States who is an elector qualified to vote in Michigan

shall have the . . . fundamental right to vote, including but not limited to the right, once

registered, to vote a secret ballot in all elections. No person shall: (1) enact or use any law, rule,

regulation, qualification, prerequisite, standard, practice, or procedure; (2) engage in any

harassing, threatening, or intimidating conduct; or (3) use any means whatsoever, any of which

has the intent or effect of denying, abridging, interfering with, or unreasonably burdening the

fundamental right to vote.” Mich. Const. Art. II, § 4 (1)(a). This provision can be enforced by

“[a]ny Michigan citizen or citizens.” Id.

       Congress also recognizes the importance of the right to vote and has enacted legislation

to ensure that citizens may exercise this right free from intimidation. Specifically, both the

Voting Rights Act of 1965 and the Ku Klux Klan Act of 1871 prevent state and private actors

from using intimidation to deter or influence those exercising their right to vote freely for the

candidates of their choice. See 52 U.S.C. § 10307(b); 42 U.S.C. § 1985(3).

       The Supreme Court has also recognized legislatures’ authority to protect the free exercise

of voting rights, even when doing so burdens another’s constitutional rights. See Burson v.

Freeman, 504 U.S. 191, 211 (1992) (finding in favor of protecting voting rights over unrestricted

free speech rights where “the exercise of free speech rights conflict[ed] with another

fundamental right, the right to cast a ballot in an election free from the taint of intimidation and

fraud.”). Preventing voter intimidation is a “rare case” in which certain restrictions on free

speech survive strict scrutiny. Id.




                                                  4
 Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.23 Filed 11/05/24 Page 7 of 15




        Michigan law also makes it illegal to “attempt, by means of bribery, menace, or other

corrupt means or device, either directly or indirectly, to influence an elector in giving his or her

vote, or to deter the elector from, or interrupt the elector in giving his or her vote at any election”

held in Michigan. Mich. Comp. Laws § 168.932(a).

        These backdrop principles undergird Plaintiffs’ arguments that they are likely to prevail

on each of their claims that Defendants’ conduct is illegal and unconstitutional.

              i.        Plaintiffs Are Likely to Prevail on their Claim that Defendants’
                        Actions Violate Section 11(b) of Voting Rights Act of 1965.

        Section 11(b) of the Voting Rights Act, as amended and codified, provides that “[n]o

person, whether acting under color of law or otherwise, shall intimidate, threaten, or coerce, or

attempt to intimidate, threaten, or coerce any person for voting or attempting to vote.” 52 U.S.C.

§ 10307(b).

        Section 11(b) “on its face[,] prohibits any intimidation, threat, or coercion, whether done

by a public official or by a private individual.” Whatley v. City of Vidalia, 399 F.2d 521, 526

(5th Cir. 1968). It also provides a private cause of action. See Rhodes v. Siver, 2021 WL

912393, at *1 (E.D. Mich. Mar. 10, 2021) (collecting cases); Nat’l Coal. on Black Civic

Participation v. Wohl, 512 F. Supp. 3d 500, 509 (S.D.N.Y. 2021) (“The provision applies to

private conduct and can be enforced through suit by a private individual.”); see also 28 U.S.C.

§ 1343(a)(4) (providing private cause of action “under any Act of Congress providing for the

protection of civil rights, including the right to vote”).

        Voter intimidation is not limited to confrontations at the polling place. Courts have

broadly interpreted the statutory terms “threaten[ing] to make use of any force, violence, or tactic

of coercion or intimidation” to find that voter intimidation “can be achieved through

manipulation and suggestion” and through “subtle, rather than forcefully coercive means.”



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 Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.24 Filed 11/05/24 Page 8 of 15




United States v. Tan Duc Nguyen, 673 F.3d 1259, 1265 (9th Cir. 2012) (interpreting Cal. Elec.

Code § 18540). Moreover, whether the intimidating behavior “was intended or simply the result

of excessive zeal is not the issue, [so long] as the result was the intimidation of

prospective . . . voters.” TRO at 2, Daschle v. Thune, CIV 04-4177, (D.S.D. Nov. 2, 2004)

(“Daschle TRO”), available at https://www.brennancenter.org/sites/default/files/2020-

07/2004%20Daschle%20TRO.pdf (entering a Temporary Restraining Order prohibiting a Senate

candidate and his supporters from continuing to “follow[] Native Americans from the polling

places,” “copy the license plates of Native Americans driving to the polling places,” and record

“the license plates of Native Americans driving away from the polling places”); see also Tan

Duc Nguyen, 673 F.3d at 1265 (finding that a misleading letter sent by individuals associated

with a candidate targeted to voters of the opposing party warning that their personal information

would be collected by the government and potentially accessed by anti-immigration

organizations was sufficient for a district court to find a fair probability that the state voter

intimidation statute had been violated); Ohio Democratic Party v. Ohio Republican Party, 2016

WL 6542486, at *2 (N.D. Ohio Nov. 4, 2016) (entering a Temporary Restraining Order

prohibiting voter intimidation activities recognizing the various forms that intimidation can take).

        Further, Plaintiffs have established a connection between the alleged intimidation and a

voting-related activity, which may include a range of activities beyond casting a ballot. See 52

U.S.C. § 10310(c)(1) (VRA provision defining voting to include “all action necessary to make a

vote effective in any . . . election.”). By filming voters as they were in polling places,

Defendants intimidated individuals that the ACLU of Michigan serves, interfering with their

ability to cast a ballot and causing one voter to ask for a poll worker escort out of the polling cite.

Section 11(b) of the Voting Rights Act was specifically designed to prevent this type of




                                                   6
 Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.25 Filed 11/05/24 Page 9 of 15




behavior.

        Congress, moreover, enacted Section 11(b) to avoid “requir[ing] proof that racial

discrimination motivated the intimidation, threats, or coercion.” Willingham v. Cnty. of Albany,

593 F. Supp. 2d 446, 462 (N.D.N.Y. 2006). Furthermore, “§ 11(b) does not say that a

defendant’s actions must have been ‘for the purpose of’ interfering with the plaintiff’s right to

vote.” Rhodes v. Siver, 2021 WL 1565137, at *4 (E.D. Mich. Feb. 1, 2021), report and

recommendation adopted in part, 2021 WL 912393 (E.D. Mich. Mar. 10, 2021); see also

LULAC - Richmond Region Council 4614 v. Pub. Interest Legal Found., No. 1:18-CV-00423,

2018 WL 3848404, at *3-4 (E.D. Va. Aug. 13, 2018) (finding no requirement of specific intent

to interfere with voting rights); Nat’l Coal. on Black Civic Participation v. Wohl, 661 F. Supp.

3d 78, 117 (S.D.N.Y. 2023) (“ . . . even if a showing of intent were required under Section 11(b),

which it is not . . . ” (emphasis added)).

        Faced with similar acts in connection with the 2016 presidential election, the Northern

District of Ohio found that “Donald Trump’s comments encouraging rally attendees to monitor

‘certain areas,’ as well as promises from Mr. Trump’s supporters to aggressively patrol polling

places,” constituted intimidation in violation of Section 11(b) of the Voting Rights Act and

Section 2 of the Ku Klux Klan Act. Ohio Democratic Party, 2016 WL 6542486, at *1-2. The

court rejected defendants’ arguments that these statements did not constitute evidence of

intimidating or harassing voters and granted plaintiff’s motion for a TRO. Id. at *2.

             ii.        Plaintiffs Are Likely to Prevail on their Claim that Defendants’
                        Actions Violate 42 U.S.C. § 1985(3).

        Section 2 of the Ku Klux Klan (KKK) Act, codified at 42 U.S.C. § 1985(3), safeguards

essential liberties, including the right to vote, from conspiracies by private actors. One provision

of § 1985(3) – which is known as the “Support or Advocacy Clause” – provides a cause of action



                                                 7
Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.26 Filed 11/05/24 Page 10 of 15




“if two or more persons conspire to prevent by force, intimidation, or threat, any citizen who is

lawfully entitled to vote, from giving his support or advocacy in a legal manner, toward or in

favor of . . . an elector for President or Vice President, or as a Member of Congress of the United

States; or to injure any citizen in person or property on account of such support or advocacy.” 42

U.S.C. § 1985(3); see Gaetz v. City of Riverside, 2024 WL 1269311, at *11 (C.D. Cal. Mar. 22,

2024) (“In Section 1985(3) support-or-advocacy clause cases held to be sufficient, plaintiffs have

advanced plausible claims that specific voters were intimidated from voting or giving their

support or advocacy to a federal campaign, or have similarly alleged that a reasonable person

would be plausibly intimidated by defendants’ actions.”); Nat’l Coal. on Black Civic

Participation v. Wohl, 498 F. Supp. 3d 457, 486 n.30 (S.D.N.Y. 2020) (“[T]he Support or

Advocacy Clause gives rise to an independent substantive right — the right to vote and

participate in voting-related activities.”); see also Kennedy v. Meta Platforms, Inc., 2024 WL

4031486, at *11 (N.D. Cal. Sept. 3, 2024) (holding “state action is not a required element for a

claim under the Support or Advocacy Clause”).

       Courts may and do grant injunctive relief for claims arising under the KKK Act. See

Daschle TRO (citing Brewer v. Hoxie Sch. Dist., 238 F.2d 91 (8th Cir. 1956)). When they do,

“the Support or Advocacy Clause [of the KKK Act] is not limited to conspiracies involving

racial or class-based animus.” Davis v. Cisneros, 2024 WL 4611218, at *15 (W.D. Tex. Aug.

13, 2024); see also Wohl, 661 F. Supp. 3d at 124-25 (“[T]he clause at issue in the instant case is

the second clause of 42 U.S.C. Section 1985(3) – the Support or Advocacy Clause – . . . does not

require a showing of racial animus.” (emphasis added)); Kennedy, 2024 WL 4031486, at *11

(observing that courts have often confused and conflated analysis of different provisions of the




                                                 8
Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.27 Filed 11/05/24 Page 11 of 15




statute and finding that “racial animus is not a required element of a cause of action under the

Support or Advocacy Clause”).

        Plaintiffs have alleged that Defendants conspired to intimidate or deter voters from

exercising their right to vote. Defendants have violated § 1985(3) by conspiring to prevent a

legitimate voter from supporting a candidate in a federal election by force, intimidation, or

threat, and by taking an act in furtherance of the conspiracy whereby a person has been

“intimidated from voting or giving their support or advocacy to a federal campaign.” Gaetz,

2024 WL 1269311, at *11.

        To show the “conspiracy” between the Defendants, Plaintiffs have established that

Defendants have acted in coordination to intimidate voters. Generally, courts look to the

elements of civil conspiracy for guidance in order to find an “agreement” between the parties to

prevent voting or to deliberately attempt to interfere with voting rights. See, e.g., Bush v. Butler,

521 F. Supp. 2d 63, 68 (D.D.C. 2007) (applying civil conspiracy principles to a § 1985(3) claim).

Here, Plaintiffs allege that Defendants entered into an agreement and took substantial steps to

carry out said agreement by following, filming, and harassing voters. Further, Plaintiffs allege

that voters were in fact intimidated as a result of Defendants’ actions filming at and around

polling locations. As a result, this conspiracy prevented lawful voters from voting without

intimidation. This is precisely the kind of behavior Section 2 of the KKK Act aims to prevent.

              iii.     Plaintiffs Are Likely to Prevail on their Claim that Defendants’
                       Actions Violate Article II, Section 4 of the Michigan Constitution.

        Article II, Section 4 of the Michigan Constitution protects “[t]he fundamental right to

vote” of each U.S. citizen “who is an elector qualified to vote in Michigan.” Mich. Const. Art.

II, § 4 (1)(a).

        This right prohibits any “individual, association, corporation, joint stock company, labor



                                                  9
Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.28 Filed 11/05/24 Page 12 of 15




organization, legal representative, mutual company, partnership, unincorporated organization,

the state or a political subdivision of the state or an agency of the state, or any other legal entity”

or their agent from “engag[ing] in any harassing, threatening, or intimidating conduct; or (3)

us[ing] any means whatsoever, any of which has the intent or effect of denying, abridging,

interfering with, or unreasonably burdening the fundamental right to vote.” Id.

        Because of Defendants’ filming and following voters, individuals that the ACLU of

Michigan serves were harassed and intimidated and therefore burdened from participating in the

November 2024 election. Defendants’ actions had the effect of interfering with or unreasonably

burdening Plaintiffs’ right to vote thereby violating Article II, Section 4 of the Michigan

Constitution.

        B.      The ACLU of Michigan Will Suffer Irreparable Harm in the Absence of a
                Temporary Restraining Order.

        Courts routinely find that any burden on, or impediment to, the right to vote is an

irreparable harm. “Because there can be no ‘do-over’ or redress of a denial of the right to vote

after an election, denial of that right weighs heavily in determining whether plaintiffs would be

irreparably harmed absent an injunction.” Fish v. Kobach, 840 F.3d 710, 752 (10th Cir. 2016).

See also Elrod v. Burns, 427 U.S. 347, 373 (1976) (noting, in an election case, that the “loss of

First Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury”); Williams v. Salerno, 792 F.2d 323, 326 (2d Cir. 1986) (finding that denial of

the right to vote is “irreparable harm”).

        Indeed, the Sixth Circuit has unequivocally found that deprivation of the right to vote

constitutes irreparable harm. See Obama for Am., 697 F.3d at 436 (“A restriction on the

fundamental right to vote . . . constitutes irreparable injury.”); Michigan State A. Philip Randolph

Inst. v. Johnson, 833 F.3d 656, 669 (6th Cir. 2016) (same); A. Philip Randolph Inst. v. Husted,



                                                  10
Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.29 Filed 11/05/24 Page 13 of 15




907 F.3d 913, 921 (6th Cir. 2018) (reversed in part on other grounds) (same). Even though some

voters are ultimately able to overcome Defendants’ intimidating conduct and cast their votes,

those voters will still have suffered injury. See Wohl, 512 F. Supp. at 516 (holding that the KKK

Act and Voting Rights Act do not only prohibit threats and intimidation “that successfully

prevents a person from voting . . . .”).

       Indeed, even the realistic risk that voters might be disenfranchised constitutes irreparable

harm. See, e.g., U.S. Student Ass’n Foundation v. Land, 585 F. Supp. 2d 925, 943–44 (E.D.

Mich. 2008), aff’d 546 F.3d 373 (6th Cir. 2008); Spencer v. Blackwell, 347 F. Supp. 2d 528, 537

(S.D. Ohio 2004) (holding, in a case where poll challenger conduct could contribute to chaos that

could inhibit the right to vote, voters would suffer irreparable injury absent a temporary

restraining order).

       Unless Defendants’ intimidating conduct, including following and filming voters, is

enjoined, the ACLU of Michigan will be prevented from carrying out its core mission to defend

and preserve the individuals’ right to vote. In the absence of a Temporary Restraining Order, the

ACLU of Michigan’s membership may have this right illegally infringed upon.

       Accordingly, Plaintiffs and other eligible voters indisputably and irreparably will be

harmed absent the issuance of a Temporary Restraining Order directing Defendants to cease their

intimidation of voters, including following and filming voters near polling locations.

       C.      The Balance of Equities Leans in Plaintiffs’ Favor.

       Plaintiffs’ members and others face the irreparable loss of the fundamental right to vote

freely for the candidates of their choosing absent a Temporary Restraining Order.

       In contrast, halting Defendants’ filming of voters around polling locations is a reasonable

remedy that imposes little if any burden on Defendants. The balance of equities will still fall in

Plaintiffs’ favor even if this Court weighs the Defendants’ First Amendment rights against


                                                11
Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.30 Filed 11/05/24 Page 14 of 15




Plaintiffs’ First and Fourteenth Amendment Rights. See Burson, 504 U.S. at 211 (upholding

restriction on free speech where “the exercise of free speech rights conflict[ed] with . . . the right

to cast a ballot in an election free from the taint of intimidation and fraud.”).]

       On balance, the ACLU of Michigan would suffer far greater harm from Defendants

burdening the right to vote of the individuals the ACLU of Michigan serves than Defendants

would face in halting this behavior. In the absence of a Temporary Restraining Order, voters

will be stripped of their voices in the political process and will have no input regarding who will

represent them and their communities.

       D.      The Public Interest Favors the Issuance of a Temporary Restraining Order.

       “[T]here is the highest public interest in the due observance of all the constitutional

guarantees . . . .” United States v. Raines, 362 U.S. 17, 27 (1960); see also Obama for Am., 697

F.3d at 436–37 (“[T]he public has a strong interest in exercising the fundamental political right

to vote.” (internal quotations omitted)); A. Philip Randolph Inst. v. Husted, 907 F.3d at 922

(“There is a great public interest in not denying voters the opportunity to vote . . . .”). The right

to vote is one of the most fundamental constitutional guarantees. See Dunn v. Blumstein, 405

U.S. 330, 336 (1972). Accordingly, the public interest will be served only by allowing all

registered voters to cast ballots in this election free from intimidation, interference, or

unreasonable burdens. Without the requested relief, citizens of Oakland County will be denied

the same opportunity to participate in the electoral process as other Americans. This Court

should not allow such a manifest miscarriage of justice.

       Courts consistently have held that granting a preliminary injunction serves the public

interest when it helps permit “as many qualified voters to vote as possible.” Obama for Am., 697

F.3d at 437; see also League of Women Voters of Ohio v. Brunner, 548 F.3d 463, 476 (6th Cir.

2008) (“The right to vote is a fundamental right, preservative of all rights.”) (internal quotations


                                                  12
Case 2:24-cv-12950-TGB-APP ECF No. 2, PageID.31 Filed 11/05/24 Page 15 of 15




omitted); League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016).

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request a Temporary Restraining Order

requiring Defendants to cease their intimidating actions, including following and filming voters

immediately and to refrain from such conduct through November 5, 2024 as well as in

connection with any post-election day processes related to the 2024 election.


DATED THIS 5th day of November, 2024.



                                                   _/s/Philip Mayor______________________
                                             _
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                                                 13
